 Case 3:20-cv-01075-RJD Document 21 Filed 11/06/20 Page 1 of 1 Page ID #163




                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ILLINOIS

JACQUELINE RACENER,                         )
                                            )
       Plaintiff,                           )
                                            )      Case No. 20-cv-1075-RJD
     vs.                                    )
DAVID K. OVERSTREET and                     )
OVERSTREET 2020,                            )
                                            )
       Defendants.                          )

                           JUDGMENT IN A CIVIL CASE
       DECISION BY THE COURT.

       IT IS HEREBY ORDERED AND ADJUDGED that pursuant to the Order entered by

this Court on November 6, 2020 this case is DISMISSED without prejudice. Each party to bear

their own costs.

       DATED: November 6, 2020

                                                   MARGARET M. ROBERTIE
                                                   CLERK OF COURT

                                                   By: s/ Jamie Melson
                                                           Deputy Clerk


APPROVED:

s/ Reona J. Daly
HON. REONA J. DALY
UNITED STATES MAGISTRATE JUDGE
